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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

 Case No. SACV 21-00120-CJC(KESx)                                  Date: January 26, 2021

 Title: DEFEND OUR FREEDOMS FOUNDATION V. CHARLES SCHUMER, ET AL.



 PRESENT:

   HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

        Cheryl Wynn                                          N/A
        Deputy Clerk                                     Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:             ATTORNEYS PRESENT FOR DEFENDANT:

        None Present                                     None Present

 PROCEEDINGS: (IN CHAMBERS) ORDER DENYING WITHOUT PREJUDICE
 PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION [Dkt. 9]

         On January 21, 2021, Plaintiff Defend our Freedom Foundation filed this action
 against Defendants Senator Charles Schumer and Vice President Kamala Harris in their
 official capacities as the Senate Majority Leader and President of the Senate,
 respectively. (Dkt. 1.) Plaintiff seeks to enjoin the Senate Impeachment Trial of former
 President Donald Trump. On January 26, 2021, Plaintiff filed a motion for preliminary
 injunction. (Dkt. 9.)

        The Court may issue emergency injunctive relief only if it has personal
 jurisdiction over the parties and subject matter jurisdiction over the lawsuit. See Murphy
 Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 350 (1999) (one “becomes a
 party, officially, and is required to take action in that capacity, only upon service of
 summons or other authority-asserting measure stating the time within which the party
 served must appear to defend”). To serve a United States officer in an official capacity,
 “a party must serve the United States and also send a copy of the summons and of the
 complaint by registered or certified mail to the agency, corporation, officer, or
 employee.” Fed. R. Civ. P. 4(i)(3). Plaintiff has not properly served Defendants or the
 United States with a summons and complaint to provide notice to Defendants of this
 lawsuit. Because Plaintiff has yet to properly serve Defendants, Defendants have no
 actual notice, and the Court has no personal jurisdiction over any Defendant at this time.
 See Murphy Bros., Inc., 526 U.S. at 350.
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                      UNITED STATES DISTRICT COURT
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       Accordingly, Plaintiff’s motion is DENIED WITHOUT PREJUDICE.




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